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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 12/9/2019
------------------------------------------------------------------X
NICHOLAS SKIADAS, individually and on behalf of all :
others similarly situated,                                        :
                                                                  :
                                                    Plaintiffs, :          1:19-cv-6137-GHW
                                                                  :
                              -against-                           :            ORDER
                                                                  :
ACER THERAPEUTICS INC., CHRIS                                     :
SCHELLING, and HARRY PALMIN                                       :
                                                                  :
                                                 Defendants. :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:
         The Clerk of Court is directed to conform the caption of this case to the caption used in this

order.

         SO ORDERED.

 Dated: December 9, 2019                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
